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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ROANOKE DIVISION

  ALPHONSE GAINER,                                  )
                                                    )
                     Petitioner,                    )      Case No. 7:19CV00445
                                                    )
  v.                                                )               ORDER
                                                    )
  M. BRECKON, WARDEN USP LEE,                       )      By: James P. Jones
                                                    )      United States District Judge
                     Respondent.                    )

       This matter is before me on the magistrate judge’s Report and

 Recommendation (“Report”) recommending that I deny the respondent’s Motion

 for Summary Judgment as to Whis Petition for a Writ of Habeas Corpus

 under 28 U.S.C. § 2241. After review of the record, I will adopt the Report.

       Petitioner Alphonse Gainer, a federal inmate, claims that he lost earned good

 conduct time (“GCT”) without due process in prison disciplinary proceedings.1 On

 February 15, 2013, Gainer was charged with minor assault in Incident Report No.

 2410273. After a hearing, the Disciplinary Hearing Officer (“DHO”) found Gainer

 guilty and sanctioned him with the disallowance of GCT. Gainer alleges that the

 DHO failed to provide him with a written statement of the evidence relied on and



       1
          Gainer’s initial petition raised multiple, similar claims about other disciplinary
 proceedings. The court construed his petition as raising twelve separate due process
 claims, Claims (A) through (L), and severed those claims into eight separate cases. This
 case concerns Claim (C).
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 the reasons for the sanctions imposed (“DHO report”). Based on this alleged

 violation of due process rights, Gainer seeks expungement of the disciplinary offense

 and restoration of the GCT.

         The Report recommends finding that Gainer received a copy of the DHO

 report regarding Claim (C) in 2019 during the course of this litigation, see ECF No.

 11-6.    Finding material facts in dispute regarding the respondent’s defenses,

 however, the Report recommends denying the Motion for Summary Judgment. No

 party has filed objections to the Report, and I find no clear error.

         For the stated reasons, it is ORDERED as follows:

         1. The Report and Recommendation, ECF No. 18, is ADOPTED in full;

         2. The respondent’s Motion for Summary Judgment, ECF No. 10, is

            DENIED; and

         3. Petitioner Gainer is hereby DIRECTED TO SHOW CAUSE within 21

            days from the entry of this Order why this case should not be dismissed as

            moot, because he now has a copy of the DHO Report related to Claim (C).

                                                 ENTER: September 30, 2020

                                                 /s/ James P. Jones
                                                 United States District Judge




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